          Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 1 of 21



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16   Attorneys for Plaintiffs and the Proposed Classes

17                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
18

19   LORRETTA NESBITT, JAMAL ST.                  Case No.: 3:15-cv-04052-VC
     LOUIS, and ARIAN NUNEZ
20   individually and as representatives of the   SECOND AMENDED CLASS ACTION
     classes,                                     COMPLAINT
21
                                 Plaintiffs,      (1) Failure to Provide a Stand-Alone
22
                                                  Disclosure in Violation of 15 U.S.C. §
23   v.                                           1681b(b)(2); and
                                                  (2) Failure to Provide Pre-Adverse Action
24   POSTMATES INC.,                              Notice in Violation of 15 U.S.C. §
                                                  1681b(b)(3)
25                             Defendant.
                                                  DEMAND FOR JURY TRIAL
26

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               SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
        Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 2 of 21



 1          Plaintiffs Lorretta Nesbitt, Jamal St. Louis, and Arian Nunez (“Plaintiffs”), by
 2   and through their attorneys, and on behalf of themselves, the Putative Classes set forth
 3   below, and in the public interest, bring the following class action Complaint against
 4   Defendant Postmates Inc. (“Defendant”) pursuant to the federal Fair Credit Reporting
 5   Act (“FCRA”).
 6                                      INTRODUCTION
 7          1.      This consumer class action is brought under the FCRA against a company
 8   who routinely and systematically violates the FCRA’s basic protections by failing to
 9   provide required disclosures prior to procuring background reports on applicants and
10   employees, and by failing to provide applicants and employees with pre-adverse action
11   notice and a copy of the consumer report prior to taking adverse action against them as
12   required by 15 U.S.C. § 1681b(b)(3).
13          2.      As Defendant’s practices were routine and systematic, Plaintiffs assert
14   claims for damages on behalf of themselves and a class of similarly situated individuals
15   on whom Defendant caused a consumer report to be procured without first providing
16   required disclosures, as well as a class of similarly situated individuals against whom
17   Defendant took adverse action prior to providing them with pre-adverse action notice and
18   a copy of their consumer report.
19                                        THE PARTIES
20          3.      Plaintiff Lorretta Nesbitt is an adult resident of Las Vegas, Nevada.
21          4.      Plaintiff Jamal St. Louis is an adult resident of Brooklyn, New York.
22          5.      Plaintiff Arian Nunez is an adult resident of Union City, New Jersey.
23          6.      Defendant Postmates, Inc. is a corporation that provides couriers who
24   “purchase    and   deliver   goods     from    any   restaurant   or   store   in   a   city.”
25   https://postmates.com/about (last visited February 23, 2016). Defendant is headquartered
26   in San Francisco, California and currently offers services in over 70 cities throughout the
27   country.
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                                                   -2-
                 SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
        Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 3 of 21



 1                                 JURISDICTION AND VENUE
 2          7.      This   Court    has    jurisdiction   over   Plaintiffs’   claims   under   28
 3   U.S.C. §1441(a) and 28 U.S.C. § 1331 .
 4          8.      Venue is proper in this District under 28 U.S.C. § 1441(a) and 28 U.S.C.
 5   § 1391(b) because this case was removed from San Francisco County Superior Court, a
 6   substantial part of the events giving rise to the claims occurred in this District, and
 7   Defendant is headquartered in this District.
 8                             INTRADISTRICT STATEMENT
 9          9.      This case was removed from state court.           However, for purposes of
10   assignment, pursuant to L.R. 3-2(c) and (d), this action is properly assigned to the San
11   Francisco Division of the Northern District of California because a substantial portion of
12   the events giving rise to the dispute occurred in San Francisco County.
13                               STATUTORY BACKGROUND
14          10.     Enacted in 1970, the FCRA’s passage was driven in part by two related
15   concerns: first, that consumer reports were playing a central role in people’s lives at
16   crucial moments, such as when they applied for a job or credit, and when they applied for
17   housing. Second, despite their importance, consumer reports were unregulated and had
18   widespread errors and inaccuracies.
19          11.     While recognizing that consumer reports play an important role in the
20   economy, Congress wanted consumer reports to be “fair and equitable to the consumer”
21   and to ensure “the confidentiality, accuracy, relevancy, and proper utilization” of
22   consumer reports. 15 U.S.C. § 1681.
23          12.     Congress was particularly concerned about the use of background reports
24   in the employment context, and therefore defined the term “consumer reports” to
25   explicitly include background reports procured for employment purposes. See 15 U.S.C.
26   § 1681a(d)(1)(B).
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                                                    -3-
                 SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
        Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 4 of 21



 1             13.    Through the FCRA, Congress required employers disclose that a consumer
 2   report may be obtained for employment purposes before procuring the report. 15 U.S.C. §
 3   1681b(b)(2)(A)(i).
 4             14.    Specifically, Congress made it unlawful for an employer or prospective
 5   employer to “procure, or cause a consumer report to be procured, for employment
 6   purposes with respect to any consumer, unless …a clear and conspicuous disclosure has
 7   been made in writing to the consumer at any time before the report is procured or caused
 8   to be procured, in a document that consists solely of the disclosure, that a consumer report
 9   may be obtained for employment purposes.” 15 U.S.C. § 1681b(b)(2)(A)(i) (emphasis
10   added).      This requirement is frequently referred to as the “stand-alone disclosure
11   requirement.”
12             15.    Further, the FCRA requires that any person who uses a report for
13   employment purposes must:
14             before taking any adverse action based in whole or in part on the report. . .
15             provide to the consumer to whom the report relates –
                       (a) a copy of the report; and
16                     (b) a description in writing of the rights of the consumer under this
                       subchapter, as prescribed by the [Consumer Financial Protection]
17                     Bureau under section 1681g(c)(3).
18   15 U.S.C. § 1681b(b)(3).
19             16.    The FCRA defines adverse action both as “a denial of employment or any
20   other decision for employment purposes that adversely affects any current or prospective
21   employee” and as “any action taken or determination that is . . . adverse to the interests of
22   the consumer.” See 15 U.S.C. §§ 1681a(k)(1)(B)(ii) and 1681a(k)(1)(B)(iv)(II).
23             17.    The pre-adverse action notification provision protects applicants and
24   employees by “provid[ing] the consumer with knowledge of information the [consumer
25   reporting agency] has reported about him or her that is going to result in adverse action in
26   an employment context, affording the individual an opportunity to respond to it.” FTC
27   Advisory        Opinion      to     Leathers         (Sept.   9,    1998),     available   at
28   http://www.ftc.gov/policy/advisory-opinions/advisory-opinion-leathers-09-09-98; see also
                                                    -4-
                  SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
        Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 5 of 21



 1   Moore v. Rite Aid Hdqtrs Corp, No. CIV.A. 13-1515, 2015 WL 3444227, at *4 (E.D. Pa.
 2   May 29, 2015) (citing Goode v. LexisNexis Risk & Info. Analytics Grp., Inc., 848 F. Supp.
 3   2d 532, 537 (E.D. Pa. 2012)) (“Section 1681b(b)(3)(A) thus requires an employer to
 4   provide job applicants with their background report, summary of rights, and a ‘real
 5   opportunity’ to contest the contents of the background report before the employer relies on
 6   the report to take an adverse action against the applicant.”).       This requirement is
 7   particularly important “where the information contained in the report (such as a criminal
 8   record) would automatically disqualify the individual from employment,” so that the
 9   consumer has a chance to address the information “in case the report is inaccurate.” FTC
10   Advisory      Opinion         to   Rosen,     (June     9,     1998),      available     at
11   http://www.ftc.gov/policy/advisory-opinions/advisory-opinion-rosen-06-09-98.
12          18.     Before they procure any background reports, users of consumer reports for
13   employment purposes must certify to the consumer reporting agency that they have
14   complied with the FCRA’s disclosure provisions and will comply with its pre-adverse
15   action notice provisions. 15 U.S.C. § 1681b(b)(1).
16          19.     Many other provisions of the FCRA are also notice provisions. See 15
17   U.S.C. § 1681b(4)(B) (notification of national security investigation); § 1681c(h)
18   (notification of address discrepancy); § 1681d(a) (disclosure of investigative report); §
19   1681g (full file disclosure to consumers); § 1681k(a)(1) (disclosure regarding the use of
20   public record information); § 1681h (form and conditions of disclosure); § 1681m(a)
21   (notice of adverse action).
22          20.     Like the other notice provisions in the FCRA, the stand-alone disclosure
23   provision puts consumers on notice that a report about them may be prepared, and the pre-
24   adverse action notice provision puts them on notice that that report is being used to make
25   an adverse employment decision against them. This knowledge enables consumers to
26   exercise a variety of other substantive rights conferred by the statute, many of which work
27   to ensure accuracy, confidentiality, and fairness. 15 U.S.C. § 1681c(a) (limiting temporal
28   scope of information that can be reported); § 1681e(b) (mandating that consumer
                                                 -5-
                SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
        Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 6 of 21



 1   reporting agencies employ procedures to ensure “maximum possible accuracy” in
 2   reports); § 1681k (requiring consumer reporting agencies that report public record
 3   information to employers to either provide notice to the consumer that information is
 4   being reported or have “strict procedures” to ensure that information is “complete and up
 5   to date”); § 1681i (requiring that consumer reporting agencies investigate any disputed
 6   information); § 1681g (requiring that consumer reporting agencies provide a complete
 7   copy of the consumer’s file to the consumer).
 8          21.        Without a clear notice that a consumer report is going to be procured on
 9   them, and without notice that that report is going to be used to take adverse action against
10   them, applicants are hindered in their ability to preserve their privacy, and to correct errors
11   or other problems with the reports.
12          22.        As discussed below, Defendant routinely violated the FCRA, and
13   consumers’ rights, by failing to provide the required stand-alone disclosure before
14   procuring consumer reports for employment purposes and by failing to provide the
15   required pre-adverse action notice before taking adverse action against them.
16                  ALLEGATIONS RELATING TO PLAINTIFF NESBITT
17          23.        On or around November 2014, Plaintiff Nesbitt applied to work as a
18   courier for Defendant in San Francisco using Defendant’s on-line job application.
19          24.        Defendant requires its couriers to undergo and pass a background check.
20          25.        Specifically, Defendant procures background checks from Sterling
21   Infosystems, Inc. (“Sterling”).
22          26.        Sterling is a consumer reporting agency because it sells background reports
23   for employment purposes. See generally http://www.sterlingbackcheck.com/ (last visited
24   July 23, 2015).
25          27.        On or about November 20, 2014, Defendant procured Plaintiff Nesbitt’s
26   background report from Sterling.
27          28.        Because the background report contained information regarding whether
28   Plaintiff Nesbitt had a criminal history and detailed Plaintiff Nesbitt’s driving record, the
                                                   -6-
                  SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
        Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 7 of 21



 1   background check contained information regarding Plaintiff Nesbitt’s “character, general
 2   reputation, personal characteristics, or mode of living.” 15 U.S.C. § 1681a(d).
 3          29.      Because the background report contained information regarding Plaintiff
 4   Nesbitt’s “character, general reputation, personal characteristics, or mode of living,” the
 5   background check was a consumer report as defined under the FCRA. 15 U.S.C. §
 6   1681a(d).
 7          30.      Defendant failed to provide a stand-alone disclosure before procuring
 8   Plaintiff Nesbitt’s background check.
 9          31.      Defendant presented Plaintiff Nesbitt with a “Background Check Consent
10   & Non-Disclosure Agreement” that Plaintiff Nesbitt was required to scroll through on
11   Defendant’s website.    (Ex. 1.) This document was the only document presented to
12   Plaintiff that pertained in any way to background checks.
13          32.      Online, the Background Check Consent & Non-Disclosure Agreement
14   appears on a single screen with a scroll bar that requires applicants to scroll through it to
15   read the entire agreement.
16          33.      A printed copy of the Background Check Consent & Non-Disclosure
17   Agreement showing all the verbiage that appears online is over 10 pages long. (Ex. 2.)
18          34.      The Background Check Consent & Non-Disclosure Agreement is not a
19   stand-alone disclosure as required by the FCRA because it contains extraneous
20   information.
21          35.      First, as suggested by the title of the document, the Background Check
22   Consent & Non-Disclosure Agreement contains a lengthy non-disclosure agreement
23   wherein the job applicant purportedly agrees not to disclose “certain confidential technical
24   and business information.”
25          36.      The non-disclosure agreement consists of 12 separately-numbered
26   paragraphs, and 3 sub-paragraphs sprawled over two and a half pages of text.
27          37.      The non-disclosure agreement has nothing whatsoever to do with the
28   procurement of a background check or consumer report.
                                                 -7-
                  SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
        Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 8 of 21



 1           38.    The Background Check Consent & Non-Disclosure Agreement also
 2   contains lengthy state-specific statements that are not an authorization for Defendant to
 3   procure a consumer report and are also not disclosures of the fact that a report may be
 4   procured for employment purposes. Rather, these statements are extraneous information
 5   that renders any disclosure required under the FCRA not “clear and conspicuous” and also
 6   not a document consisting “solely” of the disclosure. Accordingly, the inclusion of these
 7   statements on the Background Check Consent & Non-Disclosure Agreement violates the
 8   FCRA.
 9           39.    Further, the Background Check Consent & Non-Disclosure Agreement
10   contains a multiple paragraph description regarding the effect of an electronic signature
11   and the procedure for obtaining a paper copy of the disclosure.
12           40.    The Background Check Consent & Non-Disclosure Agreement also
13   impermissibly purports to have the signer “authorize, without reservation, any state or
14   federal law enforcement agency or court, educational institution, motor vehicle record
15   agency, credit bureau or other information service bureau or data repository or employer
16   to furnish any and all information regarding me to STERLING and/or the COMPANY
17   itself, and authorize STERLING to provide such information to the COMPANY.” This
18   blanket authorization is not merely an authorization for Defendant to procure a consumer
19   report; rather it purports to authorize far more than just the procurement of a consumer
20   report. Moreover, the blanket authorization for release of records is not a disclosure of the
21   fact that a report may be procured for employment purposes. Accordingly, the blanket
22   authorization constitutes extraneous information.
23           41.    Accordingly, Defendant’s Background Check Consent & Non-Disclosure
24   Agreement does not satisfy the FCRA’s the stand-alone disclosure requirement.
25           42.    On or around December 18, 2014, Defendant emailed Plaintiff Nesbitt that
26   it would not be moving forward with her application “due to the results of your
27   background and driving record check.” (Ex. 3.)
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                                                 -8-
                SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
        Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 9 of 21



 1           43.      That email also stated that “[i]f you would like a copy of your background
 2   check to verify the results, please let us know and we can provide you one.” (Id.)
 3           44.      Plaintiff Nesbitt responded on that same day stating that she “would like to
 4   verify the results.” (Id.)
 5           45.      Defendant responded that it would need her Social Security Number prior
 6   to sending a copy of her background check to “verify [her] identity.” (Id.)
 7           46.      Defendant’s original December 18, 2014 email, where it informed Plaintiff
 8   that it was taking adverse action by not moving forward with her application, was not
 9   accompanied by a copy of her report and her rights as required by the FCRA.
10           47.      Further, by the time Defendant sent its December 18, 2014 email, it had
11   already taken adverse action by not moving forward with Plaintiff Nesbitt’s application,
12   thus negating the pre-adverse action notice provision’s purpose of putting consumers on
13   notice that a decision is being based on a report, so that the consumer can ensure the
14   report being used is accurate.
15           48.      Instead, Defendant put the onus on Plaintiff Nesbitt to respond and request
16   a copy of her report, and made no reference to the copy of the summary of rights.
17           49.      Even after she requested a copy of her report, Defendant required
18   identifying information before providing a copy of the report.
19                   ALLEGATIONS RELATING TO PLAINTIFF ST. LOUIS
20           50.      On or around March 4, 2015, Plaintiff St. Louis applied to work as a
21   courier for Defendant using Defendant’s on-line job application.
22           51.      Plaintiff St. Louis was presented with the Background Check Consent &
23   Non-Disclosure Agreement. For the same reasons as stated above, the Background Check
24   Consent & Non-Disclosure Agreement was not a stand-alone disclosure as required by the
25   FCRA.
26           52.      After Plaintiff St. Louis filled out the application, Defendant procured
27   Plaintiff St. Louis’ background report from Sterling.
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                                                  -9-
                   SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 10 of 21



 1          53.     Because the background report contained information regarding whether
 2   Plaintiff St. Louis had a criminal history and detailed Plaintiff St. Louis’ driving record,
 3   the background check contained information regarding Plaintiff St. Louis’ “character,
 4   general reputation, personal characteristics, or mode of living.” 15 U.S.C. § 1681a(d).
 5          54.     Because the background report contained information regarding Plaintiff
 6   St. Louis’ “character, general reputation, personal characteristics, or mode of living,” the
 7   background check was a consumer report as defined under the FCRA. 15 U.S.C. §
 8   1681a(d).
 9          55.     On or around March 15, 2015, Defendant emailed Plaintiff St. Louis that it
10   would not be moving forward with his application “due to the results of your background
11   and driving record check.” (Ex. 4.)
12          56.     That email also stated that “[i]f you would like a copy of your background
13   check to verify the results, please let us know and we can provide you one.” (Id.)
14          57.     Defendant’s March 15, 2015 email, where it informed Plaintiff St. Louis
15   that it was taking adverse action by not moving forward with his application, was not
16   accompanied by a copy of his report and his rights as required by the FCRA.
17          58.     Further, by the time Defendant sent its March 15, 2015 email, it had
18   already taken adverse action by not moving forward with Plaintiff St. Louis’ application,
19   thus negating the pre-adverse action notice provision’s purpose of putting consumers on
20   notice that a decision is being based on a report, so that the consumer can ensure the
21   report being used is accurate.
22          59.     Instead, Defendant put the onus on Plaintiff St. Louis to respond and
23   request a copy of his report, and made no reference to the copy of the summary of rights.
24                  ALLEGATIONS RELATING TO PLAINTIFF NUNEZ
25          60.     On or around November 26, 2015, Plaintiff Nunez applied to work as a
26   courier for Defendant using Defendant’s online application.
27          61.     Plaintiff did not receive a compliant, stand-alone disclosure before
28   Defendant procured his background check. The disclosure, instead, contained extraneous
                                                -10-
                 SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
        Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 11 of 21



 1   information unrelated to the fact that a consumer report would be procured for
 2   employment purposes.
 3           62.      After Plaintiff Nunez filled out the application, Defendant procured
 4   Plaintiff Nunez’s background report from Sterling.
 5           63.      Because the background report contained information regarding whether
 6   Plaintiff Nunez had a criminal history and detailed Plaintiff Nunez’s driving record, the
 7   background check contained information regarding Plaintiff Nunez’s “character, general
 8   reputation, personal characteristics, or mode of living.” 15 U.S.C. § 1681a(d).
 9           64.      Because the background report contained information regarding Plaintiff
10   Nunez’s “character, general reputation, personal characteristics, or mode of living,” the
11   background check was a consumer report as defined under the FCRA. 15 U.S.C. §
12   1681a(d).
13           65.      On December 12, 2015, Defendant sent Plaintiff Nunez an email stating
14   that it was “not proceeding with your application” and that “due to the volume of
15   applicants, we cannot provide individual feedback to candidates.” (Ex. 5.) The email did
16   not attach a copy of Plaintiff Nunez’s consumer report or a summary of rights.
17           66.      Defendant later sent Plaintiff Nunez a letter dated December 14, 2015,
18   stating that “information in a consumer report, if accurate, would prevent Postmates Inc.
19   from extending you an employment offer.” The letter also enclosed a copy of Plaintiff
20   Nunez’s consumer report and a summary of rights.
21           67.      Defendant’s original December 12, 2015 email, where it informed Plaintiff
22   Nunez that it was taking adverse action by not moving forward with his application, was
23   not accompanied by a copy of his report and his rights as required by the FCRA.
24           68.      Further, by the time Defendant sent its December 14, 2015 letter, it had
25   already taken adverse action by not moving forward with Plaintiff Nunez’s application,
26   thus negating the pre-adverse action notice provision’s purpose of putting consumers on
27   notice that a decision is being based on a report, so that the consumer can ensure the
28   report being used is accurate.
                                                -11-
                   SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 12 of 21



 1                  DEFENDANT’S ILLEGAL BUSINESS PRACTICES
 2          69.     More than fifteen years ago, the Federal Trade Commission emphasized
 3   that including extraneous information as Defendant did here is a violation of the FCRA.
 4   Letter from William Haynes, Fed. Trade Comm’n, to Richard W. Hauxwell, CEO Accufax
 5   Div. (June 12, 1998), available at 1998 WL 34323756 (explaining that “inclusion of a . . .
 6   waiver in a disclosure form will violate Section [1681b(b)(2)(A)] of the FCRA, which
 7   requires that a disclosure consist ‘solely of the disclosure that a consumer report may be
 8   obtained for employment purposes’”).
 9          70.     Moreover, the disclosure Defendant does provide is not compliant with the
10   FCRA’s plain language because it includes, inter alia, extraneous information. Numerous
11   courts have found the inclusion of this kind of information to violate the FCRA. See, e.g.,
12   Harris v. Home Depot U.S.A., Inc., No. 15-CV-01058-VC, ___ F. Supp. 3d ____, 2015
13   WL 4270313, at *2 (N.D. Cal. June 30, 2015) (holding that “a release of liability is
14   separate and distinct from the disclosure and authorization” and finding plausible
15   allegation that defendant “inserted this [release] into the disclosure form despite knowing
16   that to do so would violate the FCRA, or at least with reckless disregard for the FCRA's
17   requirements”); Moore v. Rite Aid Hdqtrs Corp., No. CIV.A. 13-1515, 2015 WL 3444227,
18   at *12 (E.D. Pa. May 29, 2015) (“[T]he text of the statute and the available agency
19   guidance demonstrate[] that the inclusion of information on the form apart from the
20   disclosure and related authorization violates § 1681b(b)(2)(A).”); Lengel v. HomeAdvisor,
21   Inc., No. 15-2198-RDR, ___ F. Supp. 3d ___, 2015 WL 2088933, at *8 (D. Kan. May 6,
22   2015) (“[I]t may be plausibly asserted that the standalone disclosure provision was
23   recklessly violated by the use of the Release form because it did not consist solely of the
24   disclosure that a consumer report may be obtained for employment purposes.”); Speer v.
25   Whole Food Mkt. Grp., Inc., No. 8:14-CV-3035-T-26TBM, 2015 WL 1456981, at *3
26   (M.D. Fla. Mar. 30, 2015) (finding that plaintiff had stated a claim wherein plaintiff
27   alleged that “the inclusion of the waiver along with the disclosure violated the FCRA”);
28   Milbourne v. JRK Residential Am., LLC, ___ F. Supp. 3d ___, No. 3:12-cv-861, 2015 WL
                                               -12-
               SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 13 of 21



 1   1120284, at *6 (E.D. Va. Mar. 10, 2015) (“Thus, judging by the text of the statute alone,
 2   inclusion of a waiver within the document containing the disclosure would violate [the
 3   FCRA].”); Dunford v. American Databank, Inc., 64 F. Supp. 3d 1378, 1388 (N.D. Cal.
 4   Aug. 12, 2014) (finding document that contained a liability release to “not consist solely
 5   of the disclosure because it added a paragraph exonerating [the defendant]”); Avila v.
 6   NOW Health Grp., Inc., No. 14 C 1551, 2014 WL 3537825, at *2 (N.D. Ill. July 17, 2014)
 7   (finding inclusion of liability waivers to be “contrary to the express language of the
 8   FCRA, which requires a disclosure ‘in a document that consists solely of the
 9   disclosure’”); Singleton v. Domino’s Pizza, LLC, No. 12-cv-823, 2012 WL 245965, at *9
10   (D. Md. Jan. 25, 2012) (“[B]oth the statutory text and FTC advisory opinions indicate that
11   an employer violates the FCRA by including a liability release in a disclosure
12   document.”); Reardon v. ClosetMaid Corp., No. 2:-8-cv-01730, 2013 WL 6231606, at
13   *10 (W.D. Pa. Dec. 2, 2013) (finding disclosure with liability waiver to be “facially
14   contrary to the statute at hand, and all of the administrative guidance”); Jones v. Halstead
15   Mgmt. Co., LLC, ___ F. Supp. 3d ___, No. 14-CV-3125 VEC, 2015 WL 366244, at *5
16   (S.D.N.Y. Jan. 27, 2015) (finding disclosure to not stand-alone when it included
17   “information regarding time frames within which the applicant must challenge the
18   accuracy of any report; an acknowledgement that ‘all employment decisions are based on
19   legitimate non-discriminatory reasons;’ . . . and all sorts of state-specific disclosures”);
20   Martin v. Fair Collections & Outsourcing, Inc., No. GJH-14-3191, 2015 WL 4064970, at
21   *4 (D. Md. June 30, 2015) (denying motion to dismiss where form “contain[ed] an
22   authorization to obtain the report, information on when the applicant must challenge the
23   accuracy of any report, an acknowledgement that the employee understands that ‘all
24   employment decisions are based on legitimate non-discriminatory reasons,’ the name,
25   address and telephone number of the nearest unit of the consumer reporting agency
26   designated to handle inquiries regarding the investigative consumer report, and several
27   pieces of state-specific information”); Rawlings v. ADS Alliance Data Sys., Inc., No. 2:15-
28   CV-04051-NKL, 2015 WL 3866885, at *6 (W.D. Mo. June 23, 2015) (stating “[w]here
                                                -13-
               SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 14 of 21



 1   the FCRA’s language is clear, a dearth of guidance does not justify an objectively
 2   unreasonable interpretation of the statute” and denying motion to dismiss where form
 3   contained extraneous state law disclosures and plaintiff alleged that defendant “knowingly
 4   used a disclosure form . . . that contained extraneous information in violation of the
 5   FCRA”); Miller v. Quest Diagnostics, No. 2:14-cv-4278, ___ F. Supp. 3d ___, 2015 WL
 6   545506, at *3 (W.D. Mo. Jan. 28, 2015) (finding “inclusion of the state-mandated
 7   consumer report information, administrative sections, and release language in the
 8   disclosure violates 15 U.S.C. § 1681b(b)(2)”); see also E.E.O.C. v. Video Only, Inc., No.
 9   CIV. 06-1362-KI, 2008 WL 2433841, at *11 (D. Or. June 11, 2008) (granting summary
10   judgment against the defendant-employer who made disclosure “as part of its job
11   application which is not a document consisting solely of the disclosure.”).
12          71.     School records, financial records, health records and public records, all of
13   which fall within the broad language included in the Background Check Consent, are all
14   legally protected from disclosure. For example, the Family Educational Rights & Privacy
15   Act, 20 U.S.C. § 1232g; 34 CFR Part 99, protects school records from disclosure absent
16   consent from the student.     Similarly, the Gramm-Leach-Bliley Act requires financial
17   institutions to safeguard nonpublic information at 15 U.S.C. §§ 6801-6809, and the Health
18   Insurance Portability and Accountability Act, which sets forth its Privacy Rule at 45 CFR
19   Part 160, and Subparts A and E of Part 164, requires certain entities to keep medical
20   records private.   Most states also protect certain types of information relating to
21   individuals from public disclosure.     For example, California’s Financial Information
22   Privacy Act, Cal. Fin. Code. § 4050, et seq., is intended “to afford persons greater privacy
23   protections than those provided in . . . the federal Gramm-Leach-Bliley Act.” Id. §
24   4051(b). Most states’ government data laws are even more restrictive, and prohibit the
25   disclosure of information on individuals held by many state agencies, like California’s
26   Information Practices Act of 1977, Cal. Civil Code § 1798, et seq. The Background
27   Check Consent & Non-Disclosure Agreement, however, purports to waive these rights
28
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               SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 15 of 21



 1   and would therefore operate to release these third parties from any liability for violating
 2   these privacy laws.
 3          72.      Defendant knew that it had an obligation to provide a stand-alone
 4   disclosure before procuring a consumer report, and provide a copy of the report and a
 5   summary of rights before taking adverse action against Plaintiffs.
 6          73.      The FCRA requires that, prior to procuring consumer reports, employers
 7   must certify to the consumer reporting agency that they will comply with the FCRA’s
 8   stand-alone disclosure and pre-adverse action requirements. See 15 U.S.C. § 1681b(b)(1).
 9          74.      In accordance with their standard procedures, the consumer reporting
10   agencies from which Defendant acquired consumer reports during the two years preceding
11   the filing of the original complaint, including Sterling, required Defendant to certify that it
12   would comply with the stand-alone disclosure provisions and pre-adverse action notice
13   provisions of the FCRA.
14          75.      Before procuring Plaintiffs’ reports, Defendant did, in fact, certify to
15   Sterling and other consumer reporting agencies that it would comply with the stand-alone
16   disclosure and pre-adverse action notice provisions of the FCRA.
17          76.      In its contract with Sterling, Defendant also agreed that before obtaining a
18   consumer report, Defendant would provide a disclosure in writing to the consumer that a
19   consumer report will be obtained for employment purposes, and that such disclosure will
20   be made in a document consisting solely of the disclosure.
21          77.      Defendant did not procure Plaintiffs’ reports in connection with any
22   investigation of suspected misconduct relating to employment, or compliance with
23   federal, state, or local laws and regulations, the rules of a self-regulatory organization, or
24   any preexisting written policies of the employer.
25          78.      By systematically inserting extraneous information into Plaintiffs’ and
26   other class members’ disclosures, Defendant willfully violated 15 U.S.C. §
27   1681b(b)(2)(A).
28
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                  SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 16 of 21



 1          79.     In violation of 15 U.S.C. § 1681b(b)(3)(A), Defendant has taken adverse
 2   action against Plaintiffs and other class members, based on undisclosed consumer report
 3   information, without first providing Plaintiffs and other class members with a copy of the
 4   pertinent consumer reports and a summary of their rights, and without providing them a
 5   reasonable opportunity to correct any inaccuracies.
 6          80.     As a result of Defendant’s failure to comply with the FCRA’s stand-alone
 7   disclosure requirement and pre-adverse action notice requirements, Plaintiffs Nesbitt, St.
 8   Louis, and Nunez experienced a concrete injury in the form of being deprived of
 9   information, namely a disclosure, a copy of their respective reports, and a summary of
10   rights to which they were statutorily entitled.
11                              CLASS ACTION ALLEGATIONS
12          81.     Plaintiffs Nesbitt, St. Louis, and Nunez assert Count I on behalf of the
13   proposed Improper Disclosure Class defined as follows:
14          All individuals on whom Defendant obtained a consumer report for
15          employment purposes on or after July 31, 2013 continuing through the date
            the class list is prepared.
16
            82.     Plaintiffs Nesbitt, St. Louis, and Nunez assert Count II on behalf of the
17
     proposed Pre-Adverse Action Notice Class defined as follows:
18
            All individuals against whom Defendant took adverse action based in
19          whole or in part on information contained in a consumer report on or after
            July 31, 2013 and continuing through the date the class list is prepared.
20
            83.     This action is brought, and may properly be maintained, as a class action
21
     under Fed. R. Civ. P. 23(b)(3).
22
            84.     Numerosity:     The Classes are so numerous that joinder of all class
23
     members is impracticable. Defendant is a large company that has had hundreds, if not
24
     thousands, of job applicants in the past two years.
25
            85.     Typicality: Plaintiffs’ claims are typical of the class members’ claims.
26
     The FCRA violations committed by Defendant were committed pursuant to uniform
27

28
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                SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 17 of 21



 1   policies and procedures, and Defendant treated Plaintiffs in the same manner as other
 2   class members in accordance with its standard policies and practices.
 3          86.      Adequacy: Plaintiffs will fairly and adequately protect the interests of the
 4   Classes, and have retained counsel experienced in complex class action litigation.
 5          87.      Commonality: Common questions of law and fact exist as to all members
 6   of the Classes and predominate over any questions solely affecting individual members
 7   of the Classes, including without limitation:
 8                   (a) Whether Defendant’s Background Check Consent & Non-Disclosure
 9                      Agreement violated the FCRA’s stand-alone disclosure requirement;
10                   (b) Whether Defendant violated the FCRA by taking adverse actions on
11                      the basis of information in consumer reports, without first furnishing
12                      copies of the reports and providing a summary of rights to the affected
13                      persons;
14                   (c) Whether Defendant’s conduct was willful under FCRA; and
15                   (d) The appropriateness and proper measure of statutory damages.
16          88.      Class certification is appropriate under Rule 23(b)(3) because questions of
17   law and fact common to the Classes predominate over any questions affecting only
18   individual members of the Classes, and because a class action is superior to other
19   available methods for the fair and efficient adjudication of this litigation. Defendant’s
20   conduct described in this Complaint stems from common and uniform policies and
21   practices, resulting in common violations of the FCRA. Members of the Classes do not
22   have an interest in pursuing separate actions against Defendant, as the amount of each
23   class member’s individual claim is small compared to the expense and burden of
24   individual prosecution, and Plaintiffs are unaware of any similar claims brought against
25   Defendant by any members of the Classes on an individual basis. Class certification will
26   also obviate the need for unduly duplicative litigation that might result in inconsistent
27   judgments concerning Defendant’s practices. Moreover, management of this action as a
28   class action will not present any likely difficulties. In the interests of justice and judicial
                                                  -17-
                  SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 18 of 21



 1   efficiency, it would be desirable to concentrate the litigation of all class members’ claims
 2   in a single forum.
                                              COUNT I
 3                                    15 U.S.C. § 1681b(b)(2)
 4                        Failure to Provide a Stand-Alone Disclosure
                   On Behalf of all Plaintiffs and the Improper Disclosure Class
 5
            89.      Defendant violated the FCRA by procuring consumer reports on Plaintiffs
 6
     and the Improper Disclosure Class members without making the stand-alone disclosure
 7
     required by the FCRA. See 15 U.S.C. § 1681b(b)(2)(A)(i).
 8
            90.      Defendant acted willfully and in knowing or reckless disregard of its
 9
     obligations and the rights of Plaintiffs and the Improper Disclosure Class members.
10
     Defendant’s willful conduct is reflected by, among other things, the fact that it violated a
11
     clear statutory mandate set forth in 15 U.S.C. § 1681b(b)(2)(A)(i), and that Defendant
12
     certified that it would comply with 15 U.S.C. § 1681b(b)(2)(A)(i). Further:
13
                     (a)    The stand-alone disclosure provision was enacted in 1996 and has
14
                            been in force since Defendant’s founding;
15
                     (b)    Defendant’s conduct is inconsistent with the FTC’s longstanding
16
                            regulatory guidance, judicial interpretation, and the plain language
17
                            of the statute;
18
                     (c)    Defendant repeatedly and routinely uses the same unlawful
19
                            documents it provided to Plaintiffs with all of its applicants on
20
                            whom it procured consumer reports;
21
                     (d)    Despite the pellucid statutory text and there being a depth of
22
                            guidance, Defendant systematically procured consumer reports
23
                            without first disclosing in writing to the consumer in a document
24
                            that consists solely of the disclosure, that a consumer report may be
25
                            obtained for employment purposes; and
26
                     (e)    By adopting such a policy, Defendant voluntarily ran a risk of
27
                            violating the law substantially greater than the risk associated with
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                                                -18-
                  SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 19 of 21



 1                         a reading that was merely careless.
 2          91.     Plaintiffs and the Improper Disclosure Class are entitled to statutory
 3   damages of not less than $100 and not more than $1,000 for each and every one of these
 4   violations, pursuant to 15 U.S.C. § 1681n(a)(1)(A). Improper Disclosure Class members
 5   are also entitled to punitive damages for these violations, pursuant to 15 U.S.C. §
 6   1681n(a)(2). Plaintiffs and the Improper Disclosure Class members are further entitled to
 7   recover their costs and attorneys’ fees, pursuant to 15 U.S.C. § 1681n(a)(3).
                                              COUNT II
 8                                  15 U.S.C. § 1681b(b)(3)(A)
 9                        Failure to Provide Pre-Adverse Action Notice
              On behalf of all Plaintiffs and the Pre-Adverse Action Notice Class
10
            92.     Defendant violated the FCRA by failing to provide Plaintiffs and the Pre-
11
     Adverse Action Notice Class members with a copy of the consumer report that was used
12
     to take adverse employment action against them. See 15 U.S.C. § 1681b(b)(3)(A).
13
            93.     Defendant also violated the FCRA by failing to provide Plaintiffs and the
14
     Pre-Adverse Action Notice Class members with a summary of their rights under the
15
     FCRA. See id.
16
            94.     Defendant acted willfully and in knowing or reckless disregard of its
17
     obligations and the rights of Plaintiffs and the Pre-Adverse Action Notice Class members.
18
     Defendant’s willful conduct is reflected by, among other things, the fact that it violated a
19
     clear statutory mandate set forth in 15 U.S.C. § 1681b(b)(3)(A), and that Defendant
20
     certified that it would comply with 15 U.S.C. § 1681b(b)(3)(A). Further:
21
                    (a)    The pre-adverse action provision was enacted in 1996 and has been
22
                           in force since Defendant’s founding;
23
                    (b)    Defendant’s conduct is inconsistent with the FTC’s longstanding
24
                           regulatory guidance, judicial interpretation, and the plain language
25
                           of the statute;
26
                    (c)    Despite the pellucid statutory text and there being a depth of
27
                           guidance, Defendant has adopted a policy of taking adverse action
28
                                                -19-
               SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 20 of 21



 1                            without giving first providing consumers with a copy of their
 2                            reports and a summary of their rights;
 3                   (d)      Defendant continues to violate the FCRA despite having been sued
 4                            previously for such violations; and
 5                   (e)      By adopting such a policy, Defendant voluntarily ran a risk of
 6                            violating the law substantially greater than the risk associated with
 7                            a reading that was merely careless.
 8           95.     Plaintiffs and the Pre-Adverse Action Notice Class are entitled to statutory
 9   damages of not less than $100 and not more than $1,000 for each and every one of these
10   violations, pursuant to 15 U.S.C. § 1681n(a)(1)(A). Plaintiffs and the Pre-Adverse Action
11   Notice Class members are also entitled to punitive damages for these violations, pursuant
12   to 15 U.S.C. § 1681n(a)(2). Plaintiffs and Pre-Adverse Action Notice Class members are
13   further entitled to recover their costs and attorneys’ fees, pursuant to 15 U.S.C. §
14   1681n(a)(3).
15                                      PRAYER FOR RELIEF
16           96.     WHEREFORE, Plaintiffs, on behalf of themselves and the Classes, pray
17   for relief as follows:
18                   (a) Determining that this action may proceed as a class action under Fed.
19                         R. Civ. P. 23(b)(3);
20                   (b) Designating Plaintiffs as Class Representatives and designating
21                         Plaintiffs’ counsel as counsel for the Classes;
22                   (c) Issuing proper notice to the Classes at Defendant’s expense;
23                   (d) Declaring that Defendant violated the FCRA;
24                   (e) Declaring that Defendant acted willfully, in knowing or reckless
25                         disregard of Plaintiffs’ rights and its obligations under the FCRA;
26                   (f) Awarding statutory damages and punitive damages as provided by the
27                         FCRA;
28
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                SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
       Case 3:15-cv-04052-VC Document 35 Filed 03/03/16 Page 21 of 21



 1                 (g) Awarding reasonable attorneys’ fees and costs as provided by the
 2                    FCRA;
 3                 (h) Granting other and further relief, in law or equity, as this Court may
 4                    deem appropriate and just.
 5                              DEMAND FOR JURY TRIAL
 6           97.   Pursuant to Fed. R. Civ. P. 38, Plaintiffs and the Classes demand a trial by
 7   jury.
 8

 9   Dated: March 3, 2016                               BERGER & MONTAGUE, P.C.
10                                               By:    /s/John G. Albanese
                                                        John G. Albanese (pro hac vice)
11

12                                                      Attorneys for Plaintiffs and the
                                                        Proposed Classes
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                SECOND AMENDED COMPLAINT, Case No.3:15-cv-04052-VC
